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                                 ATTACHMENT C
                                 CERTIFICATION

      In support of this application, and pursuant to 18 U.S.C. § 3122, I am an

“attorney for the Government” as defined in Rule 1(b)(1) of the Federal Rules of

Criminal Procedure. I certify that the information likely to be obtained from the

requested warrant is relevant to an ongoing criminal investigation being conducted

by ATF for violations of 21 U.S.C. § 841(a)(1), Distribution or Possession with Intent

to Distribute a Controlled Substance, and 18 U.S.C. § 922(g)(1), Felon in Possession

of a Firearm.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing paragraph is true and correct.



May 10, 2024
                                              Doaa K. Al-Howaishy
                                              Assistant United States Attorney
